
BARFIELD, Judge.
The trial court departed from the sentencing guidelines for the following stated reason:
The court has gone outside the sentencing guidelines in this case on you, Mr. Hall, because you were previously placed on probation and the court considers the fact that you violated the conditions of that probation to be sufficient aggravating circumstances to no longer be bound by the sentencing guidelines. For that reason the court has gone outside the guidelines.
We affirm the departure from the guidelines. Carter v. State, 452 So.2d 953 (Fla. 5th DCA 1984); Gordon v. State, 454 So.2d 657 (Fla. 5th DCA 1984).
JOANOS and WIGGINTON, JJ., concur.
